                                                                 I--     U.S. DISTRICT COURT
      Case 4:17-cv-00802-A Document 11 Filed 12/18/17            \   NORTHERN   D1STR1CT
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                   IN THE UNITED sTATEs DISTRICT              co~RT        l'   DE··.c·· 1 s 2011   I
                        NORTHERN DISTRICT OF TEXAS               ~                                   I
                            FORT WORTH DIVISION                       y       .:-u.S.JJISTIUCTCOURT
                                                                                     Deputy
                                                                                                    ·~---

CHRISTOPHER ROBERT WEAST,              §
                                       §
             Movant,                   §
                                       §
vs.                                    §            NO. 4:17-CV-802-A
                                       §            (NO. 4: 14-CR-023-A)
UNITED STATES OF AMERICA,              §
                                       §
             Respondent.               §


                                     ORDER

       Came on for consideration the motion of movant, Christopher

Robert Weast, to extend time to file his reply to the

government's response to his motion to vacate, set aside or

correct sentence under 28 U.S.C.           §        2255. This is the second such

motion movant has filed. The court finds that the motion should

be granted, but cautions movant that any further request will not

be considered favorably.

       The court ORDERS that movant's motion be, and is hereby,

granted, and that movant be, and is hereby, granted an extension

of time until January 17, 2018, in which to file his reply.

       SIGNED December 18, 2017.




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